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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   Nine Digital Devices and Images         No. 2:18-MJ-01323
     of Digital Devices Obtained from
13   Michael Stollery and in the             GOVERNMENT’S EX PARTE APPLICATION
     Possession of the FBI                   FOR FIRST EXTENSION OF TIME WITHIN
14                                           WHICH TO RETAIN AND SEARCH DIGITAL
                                             DEVICES; DECLARATION OF RICHARD E.
15                                           ROBINSON

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18        The United States of America, by and through its counsel of
19   record, Assistant United States Attorney RICHARD ROBINSON, hereby
20   applies for an order extending by 120 days the time within which the
21   government may retain and search five digital devices seized pursuant
22   to a federal search warrant.
23   //
24   //
25   //
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 1        This application is based on the attached declaration of Richard

 2   Robinson and the files and records of this case, including the

 3   underlying search warrant and affidavit in support thereof.

 4   Dated: September 20, 2018           Respectfully submitted,

 5                                       NICOLA T. HANNA
                                         United States Attorney
 6
                                         LAWRENCE S. MIDDLETON
 7                                       Assistant United States Attorney
                                         Chief, Criminal Division
 8

 9                                       /s/
                                         Richard Robinson
10                                       Assistant United States Attorney

11                                       Attorneys for Applicant
                                         UNITED STATES OF AMERICA
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 1                      DECLARATION OF RICHARD E. ROBINSON
 2        I, Richard E. Robinson, hereby declare and state:

 3        1.    I am an Assistant United States Attorney assigned to this

 4   investigation for United States Attorney’s Office for the Central

 5   District of California.

 6        2.    This declaration is made in support of a request for an

 7   order permitting the government to retain and search, pursuant to the

 8   terms of the original warrant in this matter, for an additional 120

 9   days, the following five digital devices seized pursuant to the

10   warrant described below (the “SUBJECT DIGITAL DEVICES”).          The warrant

11   pertained to the search of nine digital devices and images of digital

12   devices.   As of September 17, 2018, the search of Subject Devices 4,

13   5, 6, and 7 had been completed by the FBI. Additional time is

14   requested to search the following five SUBJECT DIGITAL DEVICES:

15              a.   One Ledger Blue cryptocurrency cold storage device

16                   (“Subject Device 1”);

17              b.   One silver/white Apple iPhone X IMEI number

18                   359412081493557 (“Subject Device 2”);

19              c.   One gold Apple iPhone 6S Plus IMEI number

20                   353286076727443 (“Subject Device 3”);

21              d.   Electronic image of Hewlett-Packard laptop computer

22                   serial number 5CG7213KZM (“Subject Device 8”); and

23              e.   Electronic image of one black Origin Neuron computer

24                   tower serial number C3170315000825 (“Subject Device

25                   9”).

26        3.    On May 23, 2018, Special Agent Patrick Feders of the

27   Federal Bureau of Investigation (“FBI”) obtained a federal search

28   warrant issued by the Honorable Steve Kim, United States Magistrate
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 1   Judge, authorizing the search of Nine Digital Devices and Images of

 2   Digital Devices Obtained from Michael Stollery and in the Possession

 3   of the FBI (the “SUBJECT DIGITAL DEVICES”).        The warrant, which is

 4   incorporated herein by reference, authorized the search of the

 5   SUBJECT DIGITAL DEVICES for a period of 120 days to allow the

 6   government to search for evidence of violations of 18 U.S.C. § 1349

 7   (conspiracy to commit wire fraud), 18 U.S.C. § 1343 (wire fraud), 18

 8   U.S.C. § 1956 (money laundering), and 18 U.S.C. § 1957 (engaging in

 9   monetary transactions in property derived from specified unlawful

10   activity).

11        4.       On May 23, 2018, FBI agents executed the warrant and

12   obtained the SUBJECT DIGITAL DEVICES that were in the custody of the

13   U.S. Secret Service.

14        5.      This is the first request for an extension.       The current

15   deadline by which the government must complete its review of the

16   SUBJECT DIGITAL DEVICES is September 20, 2018.

17        6.      Based on information provided to me by agents assigned to

18   this matter, I understand that Subject Device 1 required specialized

19   procedures to image and process information contained on the device

20   for review.    Subject Device 1 has been sent to the FBI Electronic

21   Device Analysis Unit in Quantico, Virginia and analysis is ongoing.

22        7.      Subject Device 2 and Subject Device 3 are passcode

23   protected and were turned over to the Orange County Regional Computer

24   Forensics Laboratory which is in the process of executing device

25   unlock procedures.    It has been determined that Subject Device 2 is

26   secured using a 6-digit passcode.      As of September 17, 2018, 82,817

27   passcodes have been attempted out of 1,000,000 possible passcodes for

28   Subject Device 2.    It has been determined that Subject Device 3 is

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 1   secured using a custom numeric passcode.        As of September 17, 2018,

 2   4,072 passcodes have been attempted to unlock Subject Device 3 and

 3   there is no estimate for the number of possible passcodes.

 4        8.      Subject Device 8 and Subject Device 9 have been processed

 5   and previewed using FBI evidence review tools and contain substantial

 6   amounts of communications, documents and other files.

 7        9.      The searches of Subject Device 4, Subject Device 5, Subject

 8   Device 6, and Subject Device 7 have been completed by the FBI.           No

 9   additional time is requested to review Subject Device 4, Subject

10   Device 5, Subject Device 6, and Subject Device 7.

11        10.     For the following reasons, the government is requesting an

12   additional 120 days to complete its review of the Subject Devices 1,

13   2, 3, 8, and 9:

14                a.   The forensic review of digital devices is time

15   consuming.    Agents cannot simply turn on computers and review their

16   contents because merely turning on a computer and reviewing its

17   contents changes the data on the computer.        Specialized computer

18   software is therefore needed to ensure that evidence remains in a

19   pristine and usable condition, and is not affected by the review

20   process.   The review also must be conducted by agents who have

21   received specialized training to ensure that the review is done

22   thoroughly and in a forensically sound fashion.         This process takes

23   substantial time.

24                b.   Subject Device 8 and Subject Device 9 contain

25   approximately 1,167 gigabytes of information.        Based on my training

26   and experience, I know that one gigabyte could hold the contents of

27   about ten yards of books on a shelf.       One hundred gigabytes could

28   hold an entire library floor of academic journals.         Further, it is

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 1   unknown how much additional information is contained on Subject

 2   Device 1, Subject Device 2 and Subject Device 3.

 3        I declare under penalty of perjury under the laws of the United

 4   States of America that the foregoing is true and correct.

 5   DATED: September 20, 2018

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                                                /s/
 7                                              Richard E. Robinson
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